                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 Senior Judge John L. Kane

Date: January 2, 2024
Courtroom Deputy: Bernique Abiakam
Court Reporter: Kevin Carlin

Civil Action No.: 23-cv-02079-JLK

Parties:                                              Counsel:

ST. MARY CATHOLIC PARISH IN LITTLETON;                Eric C. Rassbach
ST. BERNADETTE CATHOLIC PARISH IN                     Joseph C. Davis
LAKEWOOD; LISA SHELEY; and DANIEL                     Nicholas R. Reaves
SHELEY,                                               Amanda G. Dixon
                                                      Jordan T. Varberg

     Plaintiffs,

v.

LISA ROY, in her official capacity as Executive       Virginia Carreno
Director of the Colorado Department of Early          Janna K. Fischer
Childhood; and                                        Nichole Siobhan Rust
DAWN ODEAN, in her official capacity as Director      J. Gregory Whitehair
of Colorado’s Universal Preschool Program,            Helen L. Norton

     Defendants.


                             AMENDED COURTROOM MINUTES


Trial to Court – Day 1

9:47 a.m.          Court in session.

Court calls case. Appearances of counsel and parties.

Preliminary remarks by the Court.

Comments by the Court regarding trial schedule.

9:55 a.m.          Opening statement by Mr. Reaves.
10:09 a.m.   Questions by the Court.

10:12 a.m.   Opening statement by Ms. Fischer.

10:30 a.m.   Comment by Ms. Carreno regarding Plaintiffs’ witness testimony.

ORDERED: Defendants’ Oral Motion To Preclude the Testimony of Abriana
         Chilelli is DENIED.

Discussion regarding stipulation as to changes to the employment provision.

Counsel meet and confer as to the stipulation, as specified on the record.

10:31 a.m.   Court in recess.

10:55 a.m.   Court in session.

Discussion regarding a proposed stipulation to Counts 2 and 3.

Counsel will submit a written stipulation as soon as possible.

Discussion regarding stipulated exhibits.

Stipulated exhibits 11 thru 22, 24-25, 28 thru 32, and 34 thru 37, are ADMITTED.

Discussion regarding witness schedule.

10:59 a.m.   Plaintiffs’ witness, Abriana Chilelli, called and sworn.

Direct examination begins by Mr. Davis.

Plaintiffs’ exhibit 1, offered and admitted.

Plaintiffs’ Exhibit 3, offered for later consideration by the Court.

11:09 a.m.   Continued direct examination by Mr. Davis.

11:52 a.m.   Court in recess.

1:18 p.m.    Court in session.

Comments by Ms. Carreno asking that the Court take Judicial Notice as to Exhibit 52,
as specified on the record.

No cross examination.
Witness excused.

1:19 p.m.      Plaintiffs’ witness, Tracy Seul, called and sworn.
               Direct examination begins by Mr. Varberg.

1:56 p.m.      Cross examination begins by Ms. Dixon.

2:01 p.m.      Redirect examination by Mr. Varberg.

Witness excused.

2:02 p.m.      Plaintiffs’ witness, Lisa Sheley, called and sworn.

2:03 p.m.      Direct examination begins by Ms. Dixon.

2:08 p.m.      Cross examination begins by Mr. Whitehair.

Witness excused.

2:10 p.m.      Court in recess.

2:33 p.m.      Court in session.

Plaintiffs’ witness, Avery Coats, called and sworn via VTC.
Direct examination begins by Mr. Varberg.

3:04 p.m.      Cross examination begins by Ms. Rust.

Witness excused.

3:16 p.m.      Discussion regarding deposition designation.

Exhibits 26 and 27 offered and admitted.

Plaintiffs, rests.

Discussion regarding availability of Defendants exhibits.

3:24 p.m.      Defendants’ witness, Mary Michael Cooke, called and sworn.
               Direct examination begins by Ms. Fischer.

Defendants’ Exhibit 48 offered for later consideration by the Court.

4:21 p.m.      Cross examination begins by Mr. Reaves.

4:48 p.m.      Redirect examination by Ms. Fischer.
Witness excused.

Discussion regarding exhibits.

Bench Trial will resume tomorrow morning at 9:00 a.m.

4:51 p.m.      Court in recess.
Hearing continued.
Total time in court: 04:51
